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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 0:20-cv-61757-ALTMAN/Hunt

   VITAL PHARMACEUTICALS, INC.,
   d/b/a VPX Sports, a Florida Corporation,

          Plaintiff,

          v.

   MONSTER ENERGY COMPANY,
   a Delaware corporation, and
   REIGN BEVERAGE COMPANY, LLC,
   a Delaware limited liability company,

         Defendants.
   _____________________________________


               DEFENDANTS’ MOTION FOR JUDGMENT ON THE PLEADINGS
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          Defendants Monster Energy Company and Reign Beverage Company, LLC (collectively
  “Monster”) hereby move for judgment on the pleadings on all claims brought by Plaintiff Vital
  Pharmaceuticals, Inc. d/b/a VPX Sports (“VPX”).
                                     I. INTRODUCTION
          On June 1, 2020, VPX filed the present action against Monster for alleged trade dress
  infringement. ECF 1. VPX alleges that Monster’s REIGN INFERNO energy drink cans infringe
  VPX’s purported trade dress rights in the appearance of its Bang cans. The parties’ respective
  cans are shown below.




  Id. ¶¶ 23, 40.


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         Monster answered and then moved to stay this case pending the outcome of the trial of a
  closely related trade dress case brought by VPX against Monster in this Court. ECF 63. In that
  related case, VPX asserted it had trade dress rights in the very same Bang cans asserted in this
  action. See Case No. 0:19-cv-60809, ECF 1. VPX asserted that Monster infringed those trade
  dress rights by distributing its original REIGN energy drink cans, shown below.




  Id.; see also ECF 1 ¶ 39. This Court granted Monster’s motion to stay. ECF 71.
         This Court conducted a bench trial in the first case in August and September 2020 and
  issued its Order re Final Judgment on August 3, 2021. Case No. 0:19-cv-60809, ECF 429. In that
  detailed, 128-page Order, this Court found that VPX had no trade dress rights in its Bang cans
  because those cans were not inherently distinctive and had not acquired secondary meaning. Id.
  at 76-105. This Court also found that there was no likelihood of confusion between the appearance
  of VPX’s Bang cans and Monster’s original REIGN cans. Id. at 105-27. This Court specifically
  found that “the differences between the two labels are stark – even on a momentary glance.” Id.
  at 110. Accordingly, this Court entered final judgment in favor of Monster on all claims and
  counterclaims in the first action. Case No. 0:19-cv-60809, ECF 439 ¶¶ 1-2.
         VPX chose not to appeal this Court’s findings of no trade dress rights and no likelihood of
  confusion. Instead, VPX limited its appeal to the procedural issue of whether this case should
  have been tried to a jury. The Eleventh Circuit affirmed this Court’s decision to try this case to
  the bench and, with it, the final judgment of this Court. Vital Pharmaceuticals, Inc. v. Monster
  Energy Co., 2022 WL 3083273 (11th Cir. Aug. 3, 2022).
         At the hearing on Monster’s motion to stay this case, this Court invited Monster to file a
  motion for judgment on the pleadings if Monster prevailed at trial in the first case. ECF 73 at 4-5.
  Monster now brings that invited motion. Monster’s motion is based on two grounds. First, this
  Court already determined in the first trial that VPX has no trade dress rights in its Bang cans.


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  Accordingly, straightforward application of issue preclusion prevents VPX from re-asserting that
  it has such rights. Second, the differences between the parties’ cans are so stark, especially
  considering this Court’s prior rulings, that this Court can and should conclude on the pleadings
  that there is no likelihood of confusion between the cans. VPX’s assertion that the REIGN
  INFERNO cans are confusingly similar to the Bang cans is simply implausible in view of the
  photographs of those cans that VPX has included in its Complaint.
         II. THIS COURT SHOULD GRANT JUDGMENT ON THE PLEADINGS
         Rule 12(c) of the Federal Rules of Civil Procedure authorizes this Court to grant judgment
  on the pleadings “[a]fter the pleadings are closed.” Fed. R. Civ. P. 12(c). “A motion for judgment
  on the pleadings is governed by the same standard as a Rule 12(b)(6) motion to dismiss.” Land’s
  End at Sunset Beach Community Ass’n, Inc. v. Aspen Specialty Ins. Co., 289 F. Supp. 3d 1259,
  1264 (M.D. Fla. 2017).
         Accordingly, judgment on the pleadings may be granted based on issue preclusion or
  collateral estoppel, particularly in cases involving the prior invalidation of intellectual property
  rights. JuxtaComm-Texas Software, LLC v. Lanier Parking Sys. Of Florida, Inc., 2013 WL
  12153588 at *3-*6 (M.D. Fla. June 10, 2013). In addition, to survive a motion for judgment on
  the pleadings, “a complaint must contain sufficient factual matter, accepted as true, to ‘state a
  claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting
  Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim is plausible only “when the
  plaintiff pleads factual content that allows the court to draw the reasonable inference that the
  defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678. The Complaint must
  include “more than labels and conclusions, and a formulaic recitation of the elements of a cause
  of action will not do.” Twombly, 550 U.S. at 555. In short, “[t]hreadbare recitals of the elements
  of a cause of action, supported by mere conclusory statements, do not suffice.” Iqbal, 556 U.S. at
  678.
  A.     Issue Preclusion Bars VPX’s Assertion Of Trade Dress Rights In Its Bang Cans

         “[W]hen an issue of fact or law is actually litigated and determined by a valid and final
  judgment, and the determination is essential to the judgment, the determination is conclusive in a
  subsequent action between the parties, whether on the same or a different claim.” B&B Hardware,
  Inc. v. Hargis Indus., Inc., 575 U.S. 138, 148 (2015). In two of the leading cases on issue
  preclusion, the Supreme Court has specifically held that issue preclusion bars re-litigation of


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  intellectual property rights following an adverse judgment against the alleged holder of the rights.
  Id. (trademark rights); Blonder-Tongue Labs., Inc. v. University of Illinois Fdn., 402 U.S. 313
  (1971) (patent rights). The elements of issue preclusion are plainly met here.
         First, an issue of fact – whether VPX has trade dress rights in its Bang cans – was actually
  litigated. Following a nine-day trial, this Court held in a thorough and detailed portion of its
  decision that VPX has no such rights. Case No. 0:19-cv-60809, ECF 429 at 76-105. The Court
  specifically held that VPX’s alleged trade dress was not inherently distinctive and had not acquired
  secondary meaning. Id. In so doing, the Court found that:
         the Bang trade dress, as a whole, is neither unique nor unusual, that it does not stand
         out, and that it is a mere refinement of the other energy-drink labels that are—and
         for years have been—on the market. Bang, in fact, is merely a refinement of the
         original Monster Energy can …. The resemblance between Monster Energy and
         Bang is striking ….
  Id. ¶¶ 21-22; see also id. ¶ 25 (“Even if we were to look beyond the trade dress VPX defined in
  the joint pretrial stipulation, we would (nonetheless) conclude that Bang is a mere refinement of
  Monster Energy.”); id. ¶ 31 (“Looking to the labels’ overall impression, then, we conclude that
  Bang is a mere refinement of Monster Energy.”); id. ¶ 37 (“These third-party products all share a
  similar overall appearance with Bang.”); id. ¶ 38 (“Bang’s labeling is neither unique nor unusual.
  … Bang’s labeling is simply a refinement of a common form of labeling that has long existed in
  the market.”); id. ¶ 39 (“In an industry packed with bright, bold splashes of color—often against
  black backgrounds—Bang’s labels is, if anything, the perfect camouflage.”).
         Second, VPX’s lack of trade dress rights – a primary focus of both the trial and this Court’s
  decision – was essential to the judgment. VPX bore the burden at trial of proving “three elements
  to prevail on a trade dress claim: 1) its trade dress is inherently distinctive or has acquired
  secondary meaning, 2) its trade dress is primarily non-functional, and 3) the defendant’s trade
  dress is confusingly similar.” Yellowfin Yachts, Inc. v. Barker Boatworks, LLC, 898 F.3d 1279,
  1288 (11th Cir. 2018). “[A]s all three elements are necessary for a finding of trade dress
  infringement, any one could be characterized as threshold.” Dippin’ Dots, Inc. v. Frosty Bites
  Distrib., LLC, 369 F.3d 1197, 1202 (11th Cir. 2004). Thus, VPX could not prevail unless it
  obtained the “necessary” finding of either inherent distinctiveness or secondary meaning. VPX
  failed on both counts, and this failure was essential to this Court’s judgment in favor of Monster.



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            In addition, Monster counterclaimed for a declaration that VPX has no trade dress rights in
  its Bang cans. Case No. 0:19-cv-60809, ECF 53 at 27 ¶¶ 59-64. This Court granted judgment in
  favor of Monster on this counterclaim. Case No. 0:19-cv-60809, ECF 439 ¶ 2. That judgment
  was plainly based on this Court’s finding that VPX’s alleged trade dress was not inherently
  distinctive and lacked secondary meaning. Case No. 0:19-cv-60809, ECF 429 at 76-105. For this
  reason as well, this Court’s finding that VPX does not have the trade dress rights it asserted in its
  Bang can was essential to this Court’s judgment.
  B.        VPX’s Complaint Fails To Allege A Plausible Claim Of Trade Dress Infringement
            Against The REIGN INFERNO Cans

            “Since the Supreme Court decisions in Iqbal and Twombly in 2007-2009, a growing
  number of courts have dismissed a trademark infringement complaint on a Rule 12(b)(6) motion
  when the allegations of a likelihood of confusion are implausible in view of the facts alleged.”
  J. T. McCarthy, McCarthy on Trademarks & Unfair Competition § 32.121.75 (5th ed.) (collecting
  cases). “This can occur, for example, if the two marks are so different that even on the face of the
  complaint, there is no believable scenario under which confusion would be likely to occur.” Id.
  Simply put, some infringement claims are “too implausible to support costly litigation.” Id.
  (quoting Eastland Music Group, LLC v. Lionsgate Entertainment, Inc., 707 F.3d 869, 871 (7th Cir.
  2013)).
            For example, in Lopez v. Adidas America, Inc., 2020 WL 2539116 (S.D.N.Y. May 19,
  2020), the court dismissed a complaint for failure to state a plausible claim of infringement
  between the marks LES NYC and PUMA x LES BENJAMINS. The court concluded that “[t]he
  marks are too dissimilar,” id. at *13, and that “the degree of similarity element … overwhelms any
  possibility of confusion.” Id. at *9 (quoting Le Book Pub., Inc. v. Black Book Photography, Inc.,
  418 F. Supp. 2d 305, 311 (S.D.N.Y. 2005)). The court reached this conclusion even though several
  of the traditional likelihood-of-confusion factors favored the plaintiff. Id. at *13.
            Similarly, in Mintz v. Subaru of America, Inc., 2016 WL 5909360 at *2 (N.D. Cal. Oct. 11,
  2016), aff’d 716 Fed. Appx. 618 (9th Cir. 2017), the court dismissed a complaint for failure to state
  a plausible claim of infringement between the marks “Share the Love” and “A World of Love, for
  You and Those You Love.” And in Ava Enterprises Inc. v. P.A.C. Trading Group, Inc., 86
  U.S.P.Q.2d 1659. 2008 WL 754201 at *1-*2 (T.T.A.B. 2008), the Trademark Trial and Appeal
  Board granted judgment on the pleadings of no likely confusion between the marks “BOSS



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   AUDIOSYSTEMS” and “PAC BOOSTER THE PERFECT SOUND.” The Board found that the
   marks were simply too dissimilar to give rise to any plausible claim of a likelihood of confusion.
   Id. at *2.
           Even before Iqbal and Twombly, courts reached similar results. For example, in Marvel
   Enterprises, Inc. v. NCSoft Corp., 74 U.S.P.Q.2d 1303, 2005 WL 878090 at *4 (C.D. Cal. Mar. 9,
   2005), the court dismissed a complaint alleging infringement between the trademarks “Statesman”
   and “Captain America.” The court explained that “[w]here the two marks are entirely dissimilar,
   there is no likelihood of confusion.” Id. “That the terms at question here are entirely dissimilar is
   self-evident. Thus, there is no likelihood of confusion.” Id.
           The present case is the same. VPX’s Complaint alleges a likelihood of confusion between
   its Bang cans:




   and Monster’s REIGN INFERNO cans:




                                                                                .




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           VPX’s allegation of a likelihood of confusion is implausible on its face. As in the foregoing
   cases, the differences between the parties’ trade dresses are simply too vast to be overcome by any
   other allegations or evidence. As this Court has already observed: “the trade dress for the Inferno
   has nothing to do with the trade dress for BANG®. … [T]he Inferno can looks nothing like the
   BANG® can.” ECF 355 at 6. Accordingly, judgment on the pleadings is appropriate here.
           This is confirmed by an analysis of the traditional likelihood-of-confusion factors, namely
   (1) the strength of plaintiff’s alleged trade dress, (2) the similarity of the products’ designs, (3) the
   similarity of the products themselves, (4) the similarity of the parties’ trade channels and
   customers, (5) the similarity of advertising media used by the parties, (6) the defendant’s intent,
   and (7) the existence and extent of actual confusion in the consuming public. Yellowfin Yachts,
   898 F.3d at 1289.
           First, regarding the strength of the asserted trade dress, as explained above, this Court has
   already determined after a full trial on the merits that VPX has no trade dress rights in its Bang
   cans. Thus, when the Court addressed strength of the alleged trade dress while analyzing
   likelihood of confusion, the Court found that even if VPX had trade dress rights in its Bang cans,
   that trade dress would be “(at best) weak.” Case No. 0:19-cv-60809, ECF 429 at 106. Issue
   preclusion bars VPX from challenging that finding of fact.
           Second, as just discussed, the face of the Complaint conclusively establishes that the
   parties’ trade dresses are starkly different. In fact, this Court found that the differences between
   the alleged Bang trade dress and the original REIGN trade dress are “stark – even on a momentary
   glance.” Case No. 0:19-cv-60809, ECF 429 at 110. The differences between the alleged Bang
   trade dress and the REIGN INFERNO trade dress are even greater, as shown on the next page.




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          Third, this Court has already determined that Monster did not have any intent to cause
   consumer confusion in adopting its original REIGN trade dress. Id. at 119-20. Again, VPX is
   precluded from challenging this finding of fact. Moreover, Monster’s REIGN INFERNO trade
   dress is even more distant from the alleged Bang trade dress than Monster’s original REIGN trade



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   dress. Thus, it would be absurd to argue that Monster, by moving even further from VPX’s alleged
   trade dress, somehow acted in bad faith.
          Fourth, regarding actual confusion, VPX’s complaint asserts in conclusory fashion that the
   REIGN INFERNO trade dress “has caused” consumer confusion. ECF 1 ¶ 48. However, VPX
   has not supported this conclusion with any plausible factual allegations, or even any implausible
   factual allegations. It is simply an unsupported conclusion that is entitled to no deference. Iqbal,
   556 U.S. at 678; Twombly, 550 U.S. at 555.
          Finally, for purposes of this motion, the Court can presume that the remaining likelihood-
   of-confusion factors all favor VPX. That is, this Court can presume that the parties’ products,
   trade channels, customers, and advertising media are all identical. Even with this assumption,
   VPX’s assertion of a likelihood of confusion is simply implausible in light of the stark differences
   between the parties’ trade dresses, the established weakness of VPX’s alleged trade dress,
   Monster’s established good faith, and the absence of any plausible allegations of actual confusion.
   Thus, again, this Court should grant judgment on the pleadings.
                                        III. CONCLUSION
          This Court has already determined after a full trial on the merits that VPX has no trade
   dress rights in its alleged Bang trade dress. Accordingly, VPX is precluded from alleging rights
   in that purported trade dress here. This Court should grant judgment on the pleadings on this basis
   alone. In addition, VPX’s allegation of likelihood of confusion is implausible on the face of the
   Complaint. For this reason as well, this Court should grant judgment on the pleadings. A proposed
   order granting this motion is attached.




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                                    RULE 7.1(a)(3) CERTIFICATION
              I hereby certify that counsel for movants has conferred with counsel for VPX in a good
   faith effort to resolve the issues raised in the motion and has been unable to do so.



   Dated: October 11, 2022                     By: s/ Brian J. Stack
                                                  Brian J. Stack
                                                  Fla. Bar No. 0476234
                                                  email: bstack@stackfernandez.com
                                                  mwolf@stackfernandez.com
                                                  Email: rharris@stackfernandez.com
                                                  gmartich@stackfernandez.com
                                                  Sammy Epelbaum
                                                  Fla. Bar No. 0031524
                                                  Email: sepelbaum@stackfernandez.com
                                                  Robert Harris
                                                  Fla. Bar No. 0817783
                                                  STACK FERNANDEZ & HARRIS, P.A.
                                                  1001 Brickell Bay Drive, Suite 2650
                                                  Miami, Florida 33131
                                                  Telephone: 305.371.0001

                                                  Steven J. Nataupsky (admitted pro hac vice)
                                                  Email: steven.nataupsky@knobbe.com
                                                  Joseph R. Re (admitted pro hac vice)
                                                  Email: joseph.re@knobbe.com
                                                  Lynda J. Zadra-Symes (admitted pro hac vice)
                                                  Email: linda.zadrasymes@knobbe.com
                                                  Brian C. Horne (admitted pro hac vice)
                                                  Email: brian.horne@knobbe.com
                                                  Carol Pitzel Cruz (admitted pro hac vice)
                                                  Email: carol.pitzel.cruz@knobbe.com
                                                  KNOBBE, MARTENS, OLSON & BEAR, LLP
                                                  2040 Main Street, Fourteenth Floor
                                                  Irvine, CA 92614
                                                  Telephone: (949) 760-0404
                                                  Facsimile: (949) 760-9502

                                                  Attorneys for Defendants,
                                                  Monster Energy Company and
                                                  Reign Beverage Company, LLC


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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 0:20-cv-61757-ALTMAN/Hunt

    VITAL PHARMACEUTICALS, INC.,
    d/b/a VPX Sports, a Florida Corporation,

            Plaintiff,

            v.

    MONSTER ENERGY COMPANY,
    a Delaware corporation, and
    REIGN BEVERAGE COMPANY, LLC,
    a Delaware limited liability company,

          Defendants.
    _____________________________________

                                      [PROPOSED]
                         ORDER GRANTING DEFENDANTS’ MOTION FOR
                               JUDGMENT ON THE PLEADINGS

           The Court, having considered Defendants Monster Energy Company and Reign Beverage
   Company, LLC’S Motion for Judgment on the Pleadings, and good cause appearing therefor,
   hereby GRANTS the Motion.
           IT IS HEREBY ORDERED THAT:
           1.      Final Judgment is entered in favor of the Defendants and against the Plaintiff on all
   Claims set forth in the Complaint in this action. The Plaintiff shall take nothing from this action.
           2.      Final Judgment is entered in favor of the Defendants and against the Plaintiff on all
   Counterclaims set forth in the Answer and Counterclaims in this action.
           DONE AND ORDERED in Chambers at Ft. Lauderdale, Florida this __ day of October
   2022.

                                                          __________________________
                                                          Roy K. Altman
                                                          United States District Judge




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